Case 2:07-cr-00106-GZS Document 100 Filed 03/17/08 Page 1 of 2                   PageID #: 444




                           UNITED STATES DISTRICT COURT
                                   District of Maine


UNITED STATES OF AMERICA                     )
                                             )
                                             )
v.                                           )
                                             )       **Crim. No. 07-106-P-S
FESTUS BABUNDO,                              )
                                             )
            Defendants                       )
                                             )
                                             )


                         ORDER AFFIRMING THE
              RECOMMENDED DECISION OF THE MAGISTRATE JUDGE


       The United States Magistrate Judge filed with the Court on February 11, 2008, his

Recommended Decision (Docket No. 74).            Defendant Babundo filed his Objection to the

Recommended Decision (Docket No. 77) on February 21, 2008. The Government filed its response

to Defendant’s Objection (Docket No. 94) on March 10, 2008.

       I have reviewed and considered the Magistrate Judge's Recommended Decision, together

with the entire record; I have made a de novo determination of all matters adjudicated by the

Magistrate Judge's Recommended Decision; and I concur with the recommendations of the United

States Magistrate Judge for the reasons set forth in his Recommended Decision, and determine that

no further proceeding is necessary.

       1.       It is therefore ORDERED that the Recommended Decision of the Magistrate Judge
                is hereby AFFIRMED.
Case 2:07-cr-00106-GZS Document 100 Filed 03/17/08 Page 2 of 2             PageID #: 445




      2.     It is hereby ORDERED that Defendant’s Motion to Suppress Evidence (Docket No.
             46) is DENIED.


                                               /s/George Z. Singal_____________
                                               Chief U.S. District Judge

Dated: March 17, 2008
